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                                      IN THE
                           UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

UNITED STATES OF AMERICA                              )
                                                      )
vs.                                                   )      The Honorable
                                                      )      Robert W. Gettleman
ANDREW PATTERSON                                      )
                                                      )       No. 95 CR 242-1


                            MOTION FOR REDUCTION OF SENTENCE

       Defendant Andrew Patterson, by his attorney Heather L. Winslow, respectfully moves

this Court, pursuant to 18 U.S.C. § 3582(c) and §§ 1B1.10 and 2D1.1 of the sentencing

guidelines, for an order reducing his term of imprisonment. Because the retroactive amendment

to the drug table reduces the applicable base offense level in Mr. Patterson’s case by reducing the

base offense level for all drug types by two levels, an adjusted sentence reflecting the recent

change to the guidelines is appropriate.

       In support of his motion, Mr. Patterson states the following:

       1. Mr. Patterson is currently serving sentence of 262 months for conspiracy to distribute

of crack cocaine. This Court originally sentenced him to life in prison, but subsequently

reduced the sentence pursuant to the 2007 and 2010 amendments to the sentencing guidelines.

       2. On November 1, 2014, the Sentencing Commission lowered the base offense level

for all drug types by two levels.   See U.S.S.G. Appendix C, Amdt. 782. The Commission

determined that Amendment 782 applies retroactively and included it among the guideline

amendments covered by § 1B1.10, which states:

               In a case in which a defendant is serving a term of imprisonment,
               and the guideline range applicable to that defendant has

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               subsequently been lowered as a result of an amendment to the
               Guidelines Manual listed in subsection (c) below, the court may
               reduce the defendant’s term of imprisonment as provided by 18
               U.S.C. § 3582(c).

§ 1B1.10(a)(1). The effective date for the new, retroactive crack amendments is November 1,

2014; however, the amendment prohibits the Court from ordering the release of any individual

before November 1, 2015.

       3. Section 3582(c) of Title 18 gives this court jurisdiction to reduce the term of

imprisonment of qualifying defendants who have been convicted of a drug crime and whose

sentence was determined by using the drug quantity table in U.S.S.G. § 2D1.1:

               In the case of a defendant who has been sentenced to a term of
               imprisonment based on a sentencing range that has subsequently
               been lowered by the Sentencing Commission pursuant to 28 U.S.C.
               § 994(o), upon motion of the defendant, . . . the court may reduce
               the term of imprisonment, after considering the factors set forth in
               section 3553(a) to the extent they are applicable, if such reduction
               is consistent with applicable policy statements issued by the
               Sentencing Commission.

       4.   In addition, § 1B1.10(b)(1) suggests that, in determining whether, and to what extent,

a reduction in defendant’s term of imprisonment is warranted, “the court shall determine the

amended guideline range that would have been applicable to the defendant if the amendment(s)

to the guidelines...had been in effect at the time the defendant was sentenced.”

       5. Mr. Patterson was found guilty after trial. This Court has concluded that the

quantity of crack involved in this case is 1.5 kilograms. The applicable offense level at the time

of his original sentencing was for this quantity of crack was 42. Mr. Patterson has a criminal

history in category II.   Therefore, his original sentencing range was life.

       6.      In 2009, this Court granted Mr. Patterson’s motion to reduce his guideline range

under Amendment 706, and imposed a new sentence of 324 months plus 120 months.

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        7.     In 2012, this Court granted Mr. Patterson’s motion to reduce his guideline range

under Amendment 750, and imposed a new sentence of 262 months plus 120 months.

        8.     Mr. Patterson now moves the Court to reduce his sentence by two levels under

Amendment 782 which lowered the base guideline level for all drug and chemical types listed in

U.S.S.G. § 2D1.1. The Commission chose to make this amendment retroactive, and therefore

applicable to Mr. Patterson, by including it among the amendments covered by U.S.S.G. §

1B1.10:

        Application to Amendment 782.—As specified in subsection (d) and (e)(1), Amendment
        782(generally revising the Drug Quantity Table and chemical quantity tables across drug
        and chemical types) is covered by this policy statement only in cases in which the order
        reducing the defendant’s term of imprisonment has an effective date of November 1, 2015,
        or later.

        A reduction based on retroactive application of Amendment 782 that does not comply with
        the requirement that the order take effect on November 1, 2015, or later is not consistent
        with this policy statement and therefore is not authorized under 18 U.S.C. § 3582(c)(2).

        Subsection (e)(1) does not preclude the court from conducting sentence reduction
        proceedings and entering orders under 18 U.S.C. § 3582(c)(2) and this policy statement
        before November 1, 2015, provided that any order reducing the defendant’s term of
        imprisonment has an effective date of November 1, 2015, or later.

        9.     Mr. Patterson is currently serving his sentence at the Federal Correctional

Institution in Ashland, Kentucky. His release date is projected to be January 11, 2023. Since his

arrival in Kentucky, Mr. Patterson has participated in over 38 prison programs. He has received

no disciplinary sanctions, and has earned certificates in personal finance, history, drug abuse

education, victim impact awareness and 11 other areas. He earned his GED diploma in June

2014.

        According to his Inmate Skills Development Plan, Mr. Patterson has maintained excellent

relationships with his family throughout his incarceration and has actively participated in


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programs within the Bureau of Prisons. It is clear from his current evaluation that Mr. Patterson

is as close to the model prisoner as anyone could be.

       10.     Should this Court grant Mr. Patterson’s motion for a sentence reduction under

Amendment 782 to the sentencing guidelines, his base offense level would be reduced to 36.

Mr. Patterson remains in criminal history category II.     Thus, Mr. Patterson’s sentence would be

reduced to 210 months, plus 120 months.

       WHEREFORE, based on the foregoing, Mr. Patterson moves for a reduction of his

sentence by retroactive application of Amendment 782 pursuant to § 3582(c) and § 1B1.10 of the

guidelines.


                                                        /s/ Heather L. Winslow

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